                     Case 2:20-cv-00037-RSM Document 15 Filed 10/19/20 Page 1 of 2



1                                                                            Judge: Richard S. Martinez
                                                                                         Hearing Date:
2
                                                                                                 Time:
3

4

5

6

7

8                                     United States District Court
9                               For The Western District of Washington
10                                             Seattle Division

11

12     Marlon SMITH, brought as an individual           ) Case No.: 20-CV-00037 RMS
               Plaintiffs                               )
13               v.                                     )
       Snohomish County , a government entity,          ) STIPULATED ORDER TO AMEND THE CASE
14
       Snohomish County Sheriff’s Office, a division of )    SCHEDULE PER LOCAL RULE § 40(a)
15     Snohomish County, Deputy Arthur Wallin an        )
       individual and an employee of Defendant          )
16     Snohomish County and Deputy Nathan SMITH an ) Case Filed: January 1, 2020
17     individual and an employee of Defendant          )
       Snohomish County and Does 1-6 inclusive;         )
18                                                      )
19             Defendants                               )
                                                        )
20

21
                                                      ORDER
22

23
         THIS MATTER, having come on duly and regularly before this Court, based upon
24
     agreement of Counsel for all parties, and the Court being fully advised, it is here by
25
     Order, Adjudicate and Decreed that the trial in this matter shall be continued to July 09,
26
     2021.
27
         The Clerk or Judicial Assistant shall issue a new Case Schedule with the following
28
     events and dates substituted in for the currently scheduled dates and events:

        Smith v Wallin et.al.
        Stipulation & Order
        Page 1
                  Case 2:20-cv-00037-RSM Document 15 Filed 10/19/20 Page 2 of 2



1

2    Event                                         Proposed date
3
     Disclosure of expert testimony                12/29/2021
4    Deadline for filing motions on discovery      01/26/2021
5    Discovery cut-off                             02/29/2021
     Dispositive Motions                           03/30/2021
6
     Mediation                                     05/14/2021
7    Motions in limine                             05/28/2021
8    Agreed to Pre Trial Order                     06/12/2021
     Pre trial conference & trial briefs           06/26/2021
9    Trial 4-8 days                                07/09/2021
10

11
      Dated: This 19th day of October, 2020
12

13
      The Honorable Ricardo S. Martinez
14

15
            A
       ____________________________
      Judge, United States District Court
16           Western District of Washington
17
      Presented By:
18

19    ____________/s/____________________           ____________/s/____________________
      M. Jeffery Kallis,                            Shannon Ragonesi
20    Kallislaw – Protecting Civil Rights P.C.      Keating, Bucklin & McCormack Inc.
21    Co-Counsel for Plaintiff                      Counsel for Arthur Wallin, Defendant
22
      ____________/s/____________________           __________/s/______________________
23    Thomas S. Olmstead,                           Joseph Genster
      The Law Office of Thomas Olmstead P.C.        Snohomish County Prosecutors Office
24
      Co-Counsel for Plaintiff                      Counsel for the Snohomish County Defendants
25                                                   and Nathan Smith
26

27

28



     Smith v Wallin et.al.
     Stipulation & Order
     Page 2
